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Hi sh ‘ Hughes Hubbard & Reed LLP
us e€s t One Battery Park Plaza
|
: New York, New York 10004-1482
Hubbard et ‘Telephone: +1 (212) 837-6000
i 7 Fax: 1 (212) 422-4726
& Re e d i i hugheshubbard.com
ie "
7 i Mare A, Weinstein
| i Partner
yt : i * r Direct Diak +1 (212) 837-6460
y : a Z Sie + 1 Direct Fax: +1 (212) 299-6460
te: Pope mess = t i marc, weinstcin@hugtesiubbard.com
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By ECF

Honorable Lewis A. Kaplan September 21, 2020
United States District Judge

Southern District of New York

500 Pearl Street

New York, NY 10007

Re: In re Customs and Tax Administration of the Kingdom of Denmark
(Skatteforvaliningen) Tax Refund Scheme Litigation, 18-md-2865 (LAK)

Dear Judge Kaplan:

Plaintiff Skatteforvaltningen (“SKAT”) respectfully submits this letter motion, pursuant
to Federal Rule of Civil Procedure 37, to compel third-party defendant ED&F Man Capital
Markets Limited (“ED&F”) to consent to SCAT obtaining documents, via Letter of Request,
from BNP Paribas S.A. (“BNP”), one of ED&F’s sub-custodians through which it purportedly
held Danish shares.

This motion relates to 31 actions in this MDL involving defendants that used ED&F as a
purported custodian of Danish shares.' In September 2019, ED&F admitted in an amended
pleading that 89 of the 389 tax vouchers it issued to defendants in these 31 actions were false and
collectively overstated the amount of withholding tax the defendants purportedly suffered by
DKK 184,214,519.? This motion secks to compel ED&F to take all steps necessary for SKAT to
obtain documents directly from BNP that will evidence the amount of shares of Danish stock that
BNP in fact held on behalf of ED&F and the defendant pension plans, ED&F has refused to
produce these documents to SKAT or cooperate in SKAT’s efforts to obtain them directly from
BNP, including now by threatening to invoke French professional secrecy law to prevent BNP
from producing the documents to SKAT in response to any Letter of Request that this Court
issues.

 

 

1. This motion relates to: 18-cy-05053; 18-cv-05374; [8-cv-08655; [8-cv-09797; 18-cv-09836; 18-cv-09837; 18-
cv-09838; 18-cv-09839; 18-cv-09840; [8-cv-09841; 18-cv-LOL00; 18-cv-09549; 18-cv-09515; 18-cv-09511;
18-cv-09498; £8-cv-09507; 18-cv-09497; 18-cv-09489; 18-cv-09491; 18-cv-09439; 18-cv-09552: 18-cv-09434;
18-cv-09505; [8-cv-09494; 18-cv-09492; 18-cv-09490; 18-cv-10088; 18-cv-10090; 18-cv-10127; 18-cv-04894;
18-cv- £0130.

2, See Letter Addressed to Judge Lewis A. Kaplan from Brian 3. Fraser, Ex. A 9] 4.2, fa re SKAT (No. 18-md-
02865), ECF No. 202, In its prior December 2018 pleading in the English action, ED&F asserted, under
penalty of contempt of court, that its tax vouchers were accurate, with the exception of nine that overstated the
amount purportedly withheld by DKK 312,120,

LEWIS A. KAPLAM, USD)

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